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                         UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                          )  CHAPTER 13
                                          )
 IN RE                                    )  CASE NO.: 16-15547-MDC
                                          )
       NICOLE WILKINS,                    )
                            Debtor        )
 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ )
 EXETER FINANCE, LLC,                     )
                            Movant        )  HEARING DATE:
                vs.                       )  Tuesday, June 02, 2020
                                          )  10:30 A.M.
 NICOLE WILKINS,                          )
                            Respondent(s) )
           and                            )
                                          )
 WILLIAM C. MILLER, ESQ.                  )  LOCATION:
                            Trustee       )  900 Market Street
                                          )  Courtroom No. 2
                                          )  Philadelphia, PA 19107
                                          )
                    MOTION FOR RELIEF FROM AUTOMATIC STAY

       AND NOW, comes the above-captioned Movant, Exeter Finance, LLC, by and through their

 attorney, Jason Brett Schwartz, Esquire, who files this Motion based upon the following:

       1.     The Movant is a limited liability corporation having a principal place of business located at
 222 W. Las Colinas Blvd., Suite 18N, Irving, T X 75039.

       2.     The Respondent, Nicole Wilkins is an individual with a mailing address at 2008 Kent Road,

 Folcroft, PA 19032, who has filed a Petition under Chapter 13 of the Bankruptcy Code.

       3.     On or about November 16, 2019, Debtor Nicole Wilkins entered into a Retail Installment

 Sales Contract, involving a loan in the amount of $17,618.94 for the purchase of a 2018 NISSAN Altima

 Sedan 4D S I4.

       4.     The vehicle secured by the Contract has V.I.N. 1N4AL3AP9JC172140.

       5.     Movant is the assignee of the Contract.
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        6.     The above ‒ described vehicle is encumbered by a lien with a payoff in the amount of
 $18,632.50 plus other appropriate charges as of April 21, 2020 but subject to change. The regular

 monthly payment is $359.36 at an interest rate of 13.40%.

        7.      Applying payments received to the earliest payment due, payments have been missed post-

 petition, since December 31, 2019 in the amount of $1,796.80, plus all applicable late charges, interest,

 attorneys' fees and costs.

        8.     The Property has a N.A.D.A. Value of $15,425.00.

        9.     The vehicle is not necessary to an effective reorganization.

        10.    The Movant is the only lienholder of record with regard to the vehicle.

        11.    In order to proceed with repossession of the vehicle, relief from the automatic stay must be
 obtained.

        12.    Failure to make adequate protection payments is cause for relief from the automatic stay.

        13.    The Movant has incurred attorney's fees in the filing of this Motion.

        14.    The vehicle is a rapidly depreciating asset. Movant requests the waiver of Rule 4001(a)(3).


        WHEREFORE, Movant prays for your Honorable Court to enter an Order permitting the Movant
 to proceed with the repossession proceedings of the aforementioned vehicle.

                                                       Respectfully submitted,
                                                       Mester & Schwartz, P.C.

                                                       /s/ Jason Brett Schwartz
                                                       Jason Brett Schwartz, Esquire
                                                       Attorney for Movant
                                                       1917 Brown Street
                                                       Philadelphia, PA 19130
                                                       (267) 909-9036
